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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Alexander Hodorovych, individually and on                           1:22-cv-03415
behalf of all others similarly situated,
                                 Plaintiff,

                   - against -                                 Class Action Complaint

Dollar General Corporation,
                                                                 Jury Trial Demanded
                                 Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.    Dollar General Corporation (“Defendant”) manufactures, markets, labels and sells

pain relief patches promising to deliver 4% lidocaine under the DG Health brand (“Product”).
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       2.     Lidocaine is a topical anesthetic used to treat pain by blocking the transmission of

pain signals from nerve endings in the skin to the spinal cord and brain.

       3.     Relevant front label representations include “Maximum Strength” and “Lidocaine

4% Topical Anesthetic.”

       4.     The label promises and implies targeted pain relief to the “Neck, Shoulder, Back,

Knee & Elbow,” as the “LASTS UP TO 12 HOURS” is displayed in rifle sights, next to a

humanoid image with glowing spots corresponding to the neck, back, shoulders and elbows.

       5.     The pain relief is represented as “Fast-acting” to provide “Numbing relief” in the

form of a “Stay-put flexible patch.”

I.    PRODUCT FAILS TO ADHERE TO BODY AS PROMISED

       6.     In 2003, the Food and Drug Administration (“FDA”) initiated rulemaking to classify

products which delivered lidocaine through the skin in a patch form.

       7.     This was because there was no data on “[t]he safe and effective concentration” of

lidocaine in this format.

       8.     The FDA concluded that this form of transdermal drug delivery system

systematically fails to adhere to the body.

       9.     Reports from the FDA reveal that approximately 70% of complaints about lidocaine

patches are related to poor adhesion.

       10.    A peer-reviewed study in January of 2021 by the Journal of Pain Research found that

none of the generic lidocaine patches it evaluated fully adhered to the subject’s skin after 12 hours.

       11.    Over one-third of subjects had the patches substantially detach with a high

percentage experiencing complete detachment.

       12.    In contrast, a newly developed 1.8% lidocaine patch technology, which is



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bioequivalent to 5% lidocaine patches, maintained a mean adhesion >90% across all time points

(0, 3, 6, 9, and 12 h).

         13.   Although the study published by the Journal of Pain Research only tested generic

prescription lidocaine patches, upon information and belief, Defendant’s Product, which has not

undergone rigorous approval process required by the FDA and use the same outdated and defective

adhesion technology as the generic lidocaine patches, fare no better.

         14.   While certain companies innovated their technology based on clinical studies to

ensure that their lidocaine patches reliably adhere to a consumer’s body, even while exercising,

upon information and belief, Defendant has not.

         15.   The claims that the Product “LASTS UP TO 12 HOURS” and is a “Stay-put flexible

patch” are misleading because it regularly peels off the bodies of users within a few hours, and

often minutes, after being applied.

         16.   Consumers expect that up to twelve hours will mean the Product will remains applied

for no less than twelve hours or even longer.

         17.   The Directions confirm the Product will adhere to the user’s skin for the full twelve

hours because they state to “Use one patch for up to 12 hours,” then “Discard patch after single

use.”




         18.   However, the Product cannot adhere to the skin for twelve hours, which renders the

instructions misleading, because it assumes it will not have detached by then.

         19.   The result of the failure to adhere to the user’s bodies is that the Product cannot

deliver the “Maximum Strength” amount of lidocaine for 12 hours.



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       20.    The Product is prone to greater detachment when engaging in regular activities such

as walking, stretching, and sleeping.

       21.    This is crucial because “[a]dequate adhesion is a critical quality attribute for topical

delivery systems; if the product lifts or detaches during wear, dosing may be compromised and

there is an increased risk of inadvertent exposure to others.”

II.   MAXIMUM STRENGTH CLAIM IS MISLEADING

       22.    The representation that the Product is “Maximum Strength” is misleading because

the actual strength of a lidocaine patch is measured by the “mass of drug relative to the mass of

the adhesive per patch,” delivered to the target area.

       23.    According to the FDA, when a patch delivering lidocaine becomes “partially

detached,” its efficacy of delivery and absorption of the active ingredient is greatly reduced.

       24.    The representation that it is “Maximum Strength” tells consumers it contains and

delivers the maximum amount of lidocaine available in patch form and is superior, or at least

equivalent, in efficacy and results to other over-the-counter (“OTC”) and prescription-strength

lidocaine patches.

       25.    Numerous studies and reports revealed that users of the adhesive lidocaine patches

seldom experience anything close to the promised hours of relief, because the patch fails to adhere

for the time period promised.

III. NUMBING RELIEF CLAIM

       26.    Consumers associate statements about “numbing relief” with medical treatments

requiring a prescription, and FDA approval, this tells them the Product can achieve such results.

       27.    The claim the Product provides “Numbing Relief” to the “Neck, Shoulder, Back,

Knee & Elbow” falsely implies it completely numbs pain receptors, eliminates responses to painful



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stimuli, and can treat neuropathic and musculoskeletal pain, including back pain.

        28.    The FDA determined that statements about “numbing” pain on external analgesic

products are misleading because a patch delivery system will not adhere to the body.

        29.    The claim about numbing relief is inconsistent with the Product’s limited approval

to “Temporarily relieve[] minor pain,” indicated in the Drug Facts on the back label.




IV.   CONCLUSION

        30.    Defendant makes other representations and omissions with respect to the Product

which are false and misleading.

        31.    Reasonable consumers must and do rely on a company to honestly and lawfully

market and describe the components, attributes, and features of a product, relative to itself and

other comparable products or alternatives.

        32.    The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

        33.    Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

        34.    Had Plaintiff known the truth, he would not have bought the Product or would have

paid less for it.

        35.    As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than no less than $4.00 for two patches, excluding tax and

sales, higher than similar products, represented in a non-misleading way, and higher than it would

be sold for absent the misleading representations and omissions.




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                                            Jurisdiction and Venue

       36.      Jurisdiction is based on the Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

§ 1332(d)(2).

       37.      The aggregate amount in controversy exceeds $5 million, including any statutory and

punitive damages, exclusive of interest and costs.

       38.      Plaintiff Alexander Hodorovych is a citizen of Illinois.

       39.      Defendant Dollar General Corporation is a Tennessee corporation with a principal

place of business in Goodlettsville, Davidson County, Tennessee.

       40.      The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold with the representations described here for several years, in hundreds of

locations, in the states covered by Plaintiff’s proposed classes.

       41.      The Product is available to consumers from Defendant’s retail stores and its website.

       42.      Venue is in this District because Plaintiff resides in this District and the actions

giving rise to the claims occurred within this District.

       43.      This action is properly assigned to the Eastern Division of this District because a

substantial part of the events or omissions giving rise to these claims occurred in Cook County,

including Plaintiff’s purchase, transactions and/or use of the Product and awareness and/or

experiences of and with the issues described here.

                                                Parties

       44.      Plaintiff Alexander Hodorovych is a citizen of Chicago, Illinois, Cook County.

       45.      Defendant Dollar General Corporation is a Tennessee corporation with a principal

place of business in Goodlettsville, Tennessee, Davidson County.

       46.      Dollar General is an American retail corporation that operates a chain of over 18,000




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stores throughout the nation, selling everything from outdoor furniture to groceries.

       47.    It was founded in 1939 with the mission of “Serving Others.”

       48.    While Dollar General sells leading national brands, it also sells a large number of

products under one of its private label brands, DG Health.

       49.    Private label products are made by third-party manufacturers and sold under the

name of the retailer, or its sub-brands.

       50.    Previously referred to as “generic” or “store brand,” private label products have

increased in quality, and often are superior to their national brand counterparts.

       51.    Products under the DG Health brand have an industry-wide reputation for quality

and value.

       52.    In releasing products under the DG Health brand, Defendant’s foremost criteria was

to have high-quality products that were equal to or better than the national brands.

       53.    Defendant is able to get national brands to produce its private label items due its loyal

customer base and tough negotiating.

       54.    Private label products generate higher profits for retailers because national brands

spend significantly more on marketing, contributing to their higher prices.

       55.    A survey by The Nielsen Co. “found nearly three out of four American consumers

believe store brands are good alternatives to national brands, and more than 60 percent consider

them to be just as good.”

       56.    Private label products under the DG Health brand benefit by their association with

consumers’ appreciation for the Dollar General brand as a whole.

       57.    Plaintiff purchased the Product at locations including Dollar General, 5701 W

Belmont Ave, Chicago, IL 60634-5209, between March 2022 and April 2022, among other times.




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       58.    Plaintiff purchased the Product to provide pain relief to his neck, back, elbows and

shoulders.

       59.    Plaintiff believed and expected the Product provided maximum strength lidocaine in

the percentage indicated, to the areas referenced, and for the time period promised because that is

what the representations and omissions said and implied, on the front label and the absence of any

reference or statement elsewhere on the Product.

       60.    Plaintiff saw the Product was labeled and marketed as “Maximum Strength” and

capable of delivering 4% lidocaine for “UP TO 12 HOURS,” targeted to his “Neck, Shoulder[s],

Back, Knee[s] & Elbow[s],” and read the directions on the back label, which indicated that he

could use one patch for twelve hours.

       61.    Plaintiff saw the representations prior to his purchase and understood the Product

would deliver 4% lidocaine for twelve hours.

       62.    Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

packaging, hang tags, and/or images on the Product, on the labeling, statements, omissions, claims,

statements, and instructions, made by Defendant or at its directions, in digital, print and/or social

media, which accompanied the Product and separately, through in-store, digital, audio, and print

marketing.

       63.    Plaintiff bought the Product at or exceeding the above-referenced price.

       64.    Plaintiff would not have purchased the Product if he knew the representations and

omissions were false and misleading or would have paid less for it.

       65.    Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, requirements, instructions, features, and/or

components.




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        66.     The Product was worth less than what Plaintiff paid, and he would not have paid as

much absent Defendant's false and misleading statements and omissions.

        67.     Plaintiff intends to, seeks to, and will purchase the Product again when he can do so

with the assurance the Product's representations are consistent with its abilities, attributes, and/or

composition.

        68.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other similar adhesive lidocaine patches, because he is unsure whether those representations

are truthful.

                                            Class Allegations

        69.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                         Illinois Class: All persons in the State of Illinois who
                         purchased the Product during the statutes of
                         limitations for each cause of action alleged; and

                         Consumer Fraud Multi-State Class: All persons in
                         the States of Virginia, Montana, Wyoming, Idaho,
                         Alaska, Virginia, West Virginia, Kansas, Nebraska,
                         North Dakota, Iowa, Mississippi, Arkansas, South
                         Carolina, and Utah who purchased the Product
                         during the statutes of limitations for each cause of
                         action alleged.

        70.     Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

        71.     Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

        72.     Plaintiff is an adequate representative because his interests do not conflict with other

members.

        73.     No individual inquiry is necessary since the focus is only on Defendant’s practices


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and the class is definable and ascertainable.

       74.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       75.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       76.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                   Illinois Consumer Fraud and Deceptive Business Practices Act
                                 (“ICFA”), 815 ILCS 505/1, et seq.

                                  (Consumer Protection Statute)

       77.    Plaintiff incorporates by reference all preceding paragraphs.

       78.    Plaintiff believed the Product provided maximum strength lidocaine in the percent

indicated, to the areas referenced, and for the time period promised, and it acted quickly.

       79.    Defendant’s false, misleading, and deceptive representations and omissions are

material in that they are likely to influence consumer purchasing decisions.

       80.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       81.    Plaintiff relied on the representations and omissions to believe the Product provided

maximum strength lidocaine in the percentage indicated, to the areas referenced, and for the time

period promised.

       82.    Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.




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                               Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       83.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

       84.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       85.    Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.

       86.    As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

       87.    Defendant’s conduct showed motive and a reckless disregard of the truth such that

an award of punitive damages is appropriate.

                                    Breaches of Express Warranty,
                  Implied Warranty of Merchantability/Fitness for a Particular Purpose
                    and Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       88.    The Product was manufactured, identified, marketed, and sold by Defendant and

expressly and impliedly warranted to Plaintiff that it provided maximum strength lidocaine in the

percentage indicated, to the areas referenced, and for the time period promised.

       89.    Defendant directly marketed the Product to Plaintiff through its advertisements and

marketing, through various forms of media, on the packaging, in print circulars, direct mail,

product descriptions distributed to resellers, and targeted digital advertising.

       90.    Defendant knew the product attributes that potential customers like Plaintiff were



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seeking and developed its marketing and labeling to directly meet those needs and desires.

       91.      Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that it provided maximum

strength lidocaine in the percentage indicated, to the areas referenced, and for the time period

promised.

       92.      Defendant’s representations affirmed and promised that the Product provided

maximum strength lidocaine in the percentage indicated, to the areas referenced, and for the time

period promised.

       93.      Defendant described the Product so Plaintiff believed it provided maximum strength

lidocaine in the percentage indicated, to the areas referenced, and for the time period promised,

which became part of the basis of the bargain that it would conform to its affirmations and

promises.

       94.      Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       95.      This duty is based on Defendant’s outsized role in the market for this type of Product,

a trusted company known for its high-quality products, equal to or superior to national brands at

value prices.

       96.      Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

       97.      Plaintiff provided or will provide notice to Defendant, its agents, representatives,

retailers, and their employees.

       98.      Plaintiff hereby provides notice to Defendant that it breached the express, implied

and MMWA warranties associated with the Product.

       99.      Defendant received notice and should have been aware of these issues due to




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complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

       100. The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

       101. The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container or label, because it was marketed

as if it provided maximum strength lidocaine in the percentage indicated, to the areas referenced,

and for the time period promised.

       102. The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because he expected it provided

pain relief in the form of the maximum strength of lidocaine in the percentage indicated, to the

areas referenced, and for the time period promised, and he relied on Defendant’s skill and judgment

to select or furnish such a suitable product.

       103. Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                                        Negligent Misrepresentation

       104. Defendant had a duty to truthfully represent the Product, which it breached.

       105. This duty was non-delegable, based on Defendant’s position, holding itself out as

having special knowledge and experience in this area, a trusted company known for its high-quality

products.

       106. Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and




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commitments to quality, transparency and putting customers first, that it has been known for.

       107. These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       108. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       109. Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, their purchase of the Product.

       110. Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                                              Fraud

       111. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it provided maximum strength lidocaine in the percentage indicated, to the areas referenced,

and for the time period promised.

       112. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity and deception, through statements and omissions.

       113. Defendant knew of the issues described here yet did not address them.

       114. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                        Unjust Enrichment

       115. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.




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                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: June 29, 2022
                                                       Respectfully submitted,

                                                       /s/Spencer Sheehan
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